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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                             Case No. 1:20-cv-20360-BLOOM/Louis

 JEFFREY PETER DATTO, PH.D.,

         Plaintiff,

 v.

 FLORIDA INTERNATIONAL UNIVERSITY
 BOARD OF TRUSTEES, et al.,

        Defendants.
 ________________________________/

                                              ORDER

        THIS CAUSE is before the Court upon Plaintiff’s Expedited Motion for Clarification on

 Court Order Entered on 11/06/2020, ECF No. [96] (“Motion”). The Court has considered the

 Motion, the record in this case, the applicable law, and is otherwise fully advised.

        On November 6, 2020, the Court entered an order granting Plaintiff’s Motion for Leave to

 File a Second Amended Complaint. ECF No. [70] (“Order”). In the Order, the Court found that

 Plaintiff set forth good cause for seeking leave after the Scheduling Order deadline and that there

 was no substantial reason to deny leave to amend. Id.

        Plaintiff now contends that at a recent discovery hearing before Judge Louis, she “stated

 on the record that she did not find this information [as to the “new evidence” Plaintiff received and

 referenced in his motion for leave to amend] to be relevant.” ECF No. [97] at 2. Plaintiff represents

 that he intends to “instantly appeal the order if Judge Louis has not changed her mind.” Id.

 Accordingly, he seeks clarification on whether the “new evidence” was “part of the good cause

 causing the Court to allow Plaintiff to re-assert the RA claim, and if so, can he be allowed to

 perform discovery further investigating this ‘new evidence.’” Id.
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        Upon review, the Court denies Plaintiff’s request. As an initial matter, the Motion

 functionally seeks to undermine Judge Louis’ rulings made at the December 17, 2020 hearing, and

 equally, to preempt any potential ruling that is expected. See ECF No. [93] (noting that an order is

 “to follow”). While Plaintiff contends that he will appeal any adverse ruling, no such objection is

 properly before the Court. The Court will not upend the proper appellate procedure nor use the

 Order on leave to amend as a “back door” or otherwise improper method for Plaintiff to reargue

 discovery issues. Moreover, while the Court did make limited references to the “new evidence,”

 ECF No. [70] at 7, it did so (along with listing other reasons) to provide context for finding good

 cause to “excuse Plaintiff’s belated filing of the [motion for leave to amend].” Id. The Court made

 no determination in the Order that the “new evidence” was relevant to this lawsuit. In fact, the

 Order expressly noted that Plaintiff himself “believe[d] this additional evidence is not needed for

 the complaint to be plausible on its face[.]” Id. at 3 n.2. Therefore, the Motion is without merit.

        Accordingly, it is ORDERED AND ADJUDGED that the Motion, ECF No. [96], is

 DENIED.

         DONE AND ORDERED in Chambers at Miami, Florida, on December 30, 2020.




                                                          _________________________________
                                                          BETH BLOOM
                                                          UNITED STATES DISTRICT JUDGE

 Copies to:

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